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                                                      UNITED STATES DISTRICT COURT
                 17
                                                    NORTHERN DISTRICT OF CALIFORNIA
                 18
                                                         SAN FRANCISCO DIVISION
                 19     MARC OPPERMAN, et al.,                       Case No. 13-cv-00453-JST
                 20                                                   CLASS ACTION
                                        Plaintiffs,
                 21                                                   STIPULATION REGARDING ENTRY OF
                                v.                                    JUDGMENT ON SETTLEMENT
                 22                                                   PURSUANT TO FEDERAL RULE OF CIVIL
                        PATH, INC., et al.                            PROCEDURE 54(B)
                 23
                                        Defendants.                   THIS DOCUMENT RELATES TO ALL CASES
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      K E R R
    ––––– & –––––       Case No.: 13-cv-00453-JST                                         STIPULATION REGARDING
W   A G S T A F F E
        LL P                                                                                      54(B) JUDGMENT
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                    1           WHEREAS Plaintiffs filed a Motion For Final Approval of their settlement with the

                    2   remaining App Defendants 1 (ECF No. 910; the “Motion”) on November 30, 2017;

                    3           WHEREAS final approval of the App Defendant settlement will resolve all claims

                    4   remaining in this Court except for the misrepresentation claims (Counts Three through Six, ECF

                    5   No. 478) brought by plaintiff Stephen Dean against Apple, Inc.;

                    6           WHEREAS all parties agree that there is no just reason to delay issuance of an order

                    7   granting the Motion and entering judgment on Plaintiffs’ claims against the App Defendants, as

                    8   finality is required to provide the bargained-for relief to the class and doing so would fully

                    9   adjudicate all claims against the remaining App Defendants (see Estakhrian v. Obenstine, No.
                 10     CV 11-3480 FMO (CWx), 2016 U.S. Dist. LEXIS 147105, at *36 (C.D. Cal. Oct. 24, 2016) (In
                 11     granting final approval of a class settlement, “find[ing] entry of judgment pursuant to Rule 54(b)
                 12     is proper because this order fully and finally adjudicates the claims of plaintiffs against the
                 13     settling defendants in this action.”));
                 14             WHEREAS issuance of a final approval order before all claims in the action are resolved
                 15     will not provide any party with an appellate right, as no party has standing to appeal approval of
                 16     a negotiated settlement to which no class member objected (see Powers v. Eichen, 229 F.3d
                 17     1249, 1256 (9th Cir. 2000) (holding that class members must object to preserve appellate
                 18     rights));
                 19             NOW, THEREFORE, THE UNDERSIGNED PARTIES AGREE that the Court, should
                 20     it determine that final approval of the App Defendant settlement is appropriate as prayed for in
                 21     the Motion, should determine that there is no just reason for delay in entering judgment on
                 22     Plaintiffs’ claims against the App Defendants and Apple (as released by the Settlement) within
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                 26            The App Defendants are Foodspotting, Inc. (“Foodspotting”), Foursquare Labs, Inc.
                        (“Foursquare”), Gowalla, Inc. (“Gowalla”), Instagram, LLC (“Instagram”), Kik Interactive, Inc.
                 27     (“Kik”), Kong Technologies, Inc. (formerly known as Path, Inc.) (“Path”), Twitter, Inc.
                        (“Twitter”), and Yelp! Inc. (“Yelp”).
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      K E R R                                                             1
    ––––– & –––––       Case No.: 13-cv-00453-JST                                                 STIPULATION REGARDING
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                    1   the meaning of Federal Rule of Civil Procedure 54(b) so that the Settlement may become final

                    2   and be implemented according to its terms.

                    3           IT IS SO STIPULATED.

                    4                                                Respectfully submitted,

                    5   Dated: December 12, 2017                     KERR & WAGSTAFFE LLP

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        LL P                                                                                           54(B) JUDGMENT
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    ––––– & –––––       Case No.: 13-cv-00453-JST                                    STIPULATION REGARDING
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        LL P                                                                                 54(B) JUDGMENT
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        LL P                                                                                  54(B) JUDGMENT
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    ––––– & –––––       Case No.: 13-cv-00453-JST                                   STIPULATION REGARDING
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        LL P                                                                                54(B) JUDGMENT
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                    1                                           ATTESTATION

                    2            I attest that concurrence in the filing of this document has been obtained from the

                    3    other signatories listed above.

                    4

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                    7                                                Frank Busch
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        LL P                                                                                             54(B) JUDGMENT
